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                   United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-3228                                                 September Term, 2023
                                                                        1:23-cr-00257-TSC-1
                                                       Filed On: December 13, 2023
United States of America,

                Appellee

         v.

Donald J. Trump,

                Appellant


         BEFORE:       Henderson, Childs, and Pan, Circuit Judges

                                         ORDER

       Upon consideration of the motion to expedite case, the opposition thereto, and
the reply, it is

         ORDERED that this appeal be expedited. The following briefing schedule will
apply:

         Appellant’s Brief                                          December 23, 2023

         Joint Appendix                                             December 23, 2023

         Appellee’s Brief                                           December 30, 2023

         Reply Brief                                                   January 2, 2024

It is

      FURTHER ORDERED that any oral argument be scheduled before this panel.
The parties will be informed later of the date of any oral argument.

       Appellant should raise all issues and arguments in the opening brief. The court
ordinarily will not consider issues and arguments raised for the first time in the reply
brief.

      To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
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statutes with widely recognized initials, briefs should not contain acronyms that are not
widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43
(2021); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

        Parties are strongly encouraged to hand deliver the paper copies of their briefs to
the Clerk’s office on the date due. Filing by mail may delay the processing of the brief.
Additionally, counsel are reminded that if filing by mail, they must use a class of mail
that is at least as expeditious as first-class mail. See Fed. R. App. P. 25(a). All briefs
and appendices must contain the date that the case is scheduled for oral argument at
the top of the cover. See D.C. Cir. Rule 28(a)(8).


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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